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 DEFENDANT 12:      SHAWN BEARDSLEY

 YOB:               1969

 ADDRESS:           Aurora, Colorado

 COMPLAINT FILED?              YES           NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                            YES             NO

 OFFENSE:    COUNT ONE – Title 21, United States Code, Sections 841(a)(1),
             841(b)(1)(B)(ii)(II), 841(b)(1)(B)(iii), 841(b)(1)(C), and 846: On or about and
             between June 1, 2013, and June 4, 2014, both dates being approximate and
             inclusive, did knowingly and intentionally conspire to distribute and possess with
             the intent to distribute, one or more of the following controlled substances: (1)
             more than 500 grams but less than 5 kilograms of a mixture or substance
             containing a detectable amount of cocaine, a Schedule II Controlled Substance;
             (2) more than 28 grams but less than 280 grams of a mixture or substance which
             contains cocaine base; (3) less than 100 grams of a mixture or substance
             containing a detectable amount of heroin, a Schedule I Controlled Substance; (4)
             less than 50 grams of a mixture or substance containing a detectable amount of
             methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
             Controlled Substance.

             COUNT SIXTY-TWO: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about April 11,
             2014, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 100 grams of a mixture or substance containing a detectable
             amount of heroin, a Schedule I Controlled Substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             COUNTS SIXTY-THREE AND SIXTY-FIVE: Title 21, United States Code,
             Sections 843(b) and 843(d) – did knowingly or intentionally use a
             communications device, specifically a telephone, in committing, or in causing or
             facilitating the commission of, a felony delineated in Title 21 of the United States
             Code.

             Notice of Forfeiture


 LOCATION OF OFFENSE:        Arapahoe County, Colorado
 (COUNTY/CITY/STATE)

 PENALTY:    COUNT ONE: NLT 5 years and NMT 20 years imprisonment, $5 million fine, or
             both; NLT 4 years supervised release, $100 Special Assessment Fee.
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                 COUNT SIXTY-TWO: NMT 20 years imprisonment, $1 million fine, or both;
                 NLT 3 years supervised release, $100 Special Assessment Fee.

                 COUNTS SIXTY-THREE AND SIXTY-FIVE: NMT 4 years imprisonment,
                 $250,000.00 fine, or both; NMT 1 year supervised release; and a $100 Special
                 Assessment Fee (per count).

 AGENT:          Special Agent Sara Aerts
                 Federal Bureau of Investigation

 AUTHORIZED BY:             ZACHARY PHILLIPS
                            Assistant U.S. Attorney



 ESTIMATED TIME OF TRIAL:

        five days or less              over five days               other

 THE GOVERNMENT

         will seek detention in this case                will not seek detention in this case

 The statutory presumption of detention is applicable to this defendant.

 OCDETF CASE:                        Yes WC CO 636                 No




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